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         3.    "Senator Hollings, the TCPA's sponsor, described these calls as 'the

*1256 scourge of modem civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall."' 137 Cong. Rec. 30, 821 (1991). Senator Hollings

presumably intended to give telephone subscribers another option: telling the autodialers

to simply stop calling." Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (l 11h Cir.

2014).


         4.     According    to   the   Federal   Communications    Commission      (FCC),

"Unwanted calls and texts are the number one complaint to the FCC. There are thousands

of complaints to the FCC every month on both telemarketing and robocalls. The FCC

received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

to Protect and Empower Consumers Against Unwanted Robocal/s, Texts to Wireless

Phones,       Federal      Communications         Commission,      (May     27,     2015),

http://transition.fcc.gov/Daily Releases/Daily Business/2015/db0527/DOC-

333676A 1.pdf.


                             JURISDICTION AND VENUE

         5.     This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.


         6.     Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCP A.

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       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249(l1 1h Cir. 2014)


       8.      The alleged violations described herein occurred in Orange County.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the

judicial district in which a substantial part of the events or omissions giving rise to this

action occurred.


                              FACTUAL ALLEGATIONS



       9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

Orange County, Florida


       10.     Plaintiff is a "consumer" as defined in Florida Statute § 559.55(8).


       11.     Plaintiff is an "alleged debtor."


       12.     Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 {11 1h

Cir. 2014).




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       13.    Defendant is a financial corporate entity with its principal place of

business located at 701 East 601h Street North, Sioux Falls, South Dakota 57104 and

which conducts business within the State of Florida.

       14.    The debt that is the subject matter of this Complaint is a "consumer debt"

as defined by Florida Statute §559.55(6).


       15.     Citibank is a "creditor" as defined in Florida Statute §559.55(5)


       16.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (407) ***-6502 and was the called party and recipient of Defendant's calls.


       17.    Citibank called Plaintiff on Plaintiffs cellular telephone approximately

one hundred (100) times since June 2016, in an attempt to collect a debt.


       18.    Citibank attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.


       19.    Upon receipt of the calls from Defendant, Plaintiffs caller ID identified

the calls were being initiated from, but not limited to, the following phone number: (855)

805-5486 and (817) 802-1539.


       20.    Upon information and belief, some or all of the calls that Citibank made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing

system" which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

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227(a)(l) (hereinafter "autodialer calls"). Plaintiff will testify that she knew it was an

autodialer because of the vast number of calls she received, and because when she

answered a call, Plaintiff received pre-recorded messages from Citibank.


       21.    Not a single call placed by Citibank to Plaintiff were placed for

"emergency purposes" as specified in 47 U.S.C. § 227(b)(1 )(A).


       22.     Beginning on or about June 1, 2016, Citibank began bombarding

Plaintiffs cellular telephone (407) 920-6502 in an attempt to recover an alleged debt that

her Husband, Steven, solely owes.


       23.     On or about June 1, 2016, Plaintiff started receiving calls from Defendant

to the aforementioned cellular number, which continued every month through the date of

this Complaint was filed.


       24.     Plaintiff does not have any business relationship with Citibank and is not

aware how Citibank acquired her cellular telephone number.


       25.     On or about July        16, 2016,    Plaintiff explained to     Citibank's

agent/representative that the account Citibank was calling her for belonged solely to her

Husband, and requested that Citibank stop calling her cellular telephone.


       26.     During the aforementioned call on July 16, 2016 with Citibank, Plaintiff

unequivocally revoked any express consent Defendant had for the placement of telephone

calls to Plaintiffs aforementioned cellular telephone number.




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       27.     On or about October 12, 2016, due to continued automated calls from

Citibank, Plaintiff again answered a call from Citibank's agent/representative, and again

stated that her Husband could not be reached at her cellular telephone number, and

demanded Citibank cease calling her aforementioned cellular telephone number,

whereupon Citibank hung up on Plaintiff.


       28.     On or about October 13, 2016, Plaintiff answered a call from a Citibank

agent/representative, known as "Nina", and demanded that Citibank cease calling her

aforementioned cellular telephone number, whereupon "Nina" hung upon on Plaintiff.


       29.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was done so without the "express consent" of the Plaintiff.


       30.     From approximately June 1, 2016 through the filing of this Complaint,

Defendant has called Plaintifrs aforementioned cellular telephone on a daily basis,

despite Plaintifrs request for the calls to stop.

       31.     Due to the amount of automated calls Plaintiff received from Citibank to

her cellular telephone, she was not able to properly catalogue each and every one;

however, attached hereto as Exhibit "A" is a small sampling of the calls Plaintiff

received.

       32.     Citibank has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as it did to Plaintifrs

cellular telephone in this case.




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        33.     Citibank has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice just as it did to Plaintiffs cellular telephone in

this case, with no way for the consumer, Plaintiff, or Citibank, to remove the number.


        34.     Citibank's corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Citibank they wish for

the calls to stop.


        35.     Citibank has numerous other federal lawsuits pending against it alleging

similar violations as stated in this Complaint.


        36.     Citibank has numerous complaints across the country against it asserting

that its automatic telephone dialing system continues to call despite requested to stop.


        37.     Citibank has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call the consumers.


        38.     Citibank's corporate policy provided no means for Plaintiff to have her

number removed from Defendant's call list.


        39.     Citibank has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.


        40.     Citibank willfully and/or knowingly violated the TCPA with respect to

Plaintiff.




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       41.     From each and every call placed without consent by Citibank to Plaintiff's

cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her

right of seclusion.


       42.     From each and every call without express consent placed by Citibank to

Plaintiff's cell phone, Plaintiff suffered the injury of occupation of her cellular telephone

line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

callers or outgoing calls while the phone was ringing from Citibank's calls.


       43.     From each and every call placed without express consent by Citibank to

Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly

asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

unlock the phone and deal with missed call notifications and call logs that reflected the

unwanted calls. This also impaired the usefulness of these features of Plaintiff's cellular

phone, which are designed to inform the user of important missed communications.


       44.      Each and every call placed without express consent by Citibank to

Plaintiff's cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff's cellular phone, which are designed

to inform the user of important missed communications.


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        45.     Each and every call placed without express consent by Citibank to

Plaintiffs cell phone resulted in the injury of unnecessary expenditure of Plaintifrs cell

phone's battery power.


        46.     Each and every call placed without express consent by Citibank to

Plaintiffs cell phone where a voice message was left which occupied space in Plaintiffs

phone or network.


        47.     Each and every call placed without express consent by Citibank to

Plaintiffs cell phone resulted in the injury of a trespass to Plaintiffs chattel, namely her

cellular phone and her cellular phone services.


        48.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by anxiety,

aggravation, and even some chest pain. Furthermore, due to the amount of stress

associated with the calls, Plaintiff is currently taking medication to treat same.


                                           COUNT I

                                   (Violation of the TCPA)


        49.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty

eight (48) as if fully set forth herein.


        50.     Citibank willfully violated the TCPA with respect to Plaintiff, especially

for each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff

notified Citibank that she wished for the calls to stop.


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         51.     Citibank repeatedly placed non-emergency telephone calls to Plaintiff's

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff's prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(l)(A)(iii).


         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Citibank for statutory damages, punitive damages, actual

 damages, treble damages, enjoinder from further violations of these parts and any other

 such relief the court may deem just and proper.


                                         COUNT II

                                  (Violation of the FCCPA)



        52.      Plaintiff fully incorporates and realleges paragraphs one (I) through fifty

 one (51) as if fully set forth herein


         53.     At all times relevant to this action Citibank is subject to and must abide by

 the laws of the State of Florida, including Florida Statute§ 559.72.


        54.      Citibank has violated Florida Statute          § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.


         55.     Citibank has violated Florida Statute§ 559.72(7) by willfully engaging in

 other conduct which can reasonably be expected to abuse or harass the debtor or any

 member of his or her family.
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        56.     Citibank's actions have directl y and proximately resulted in Plainliff' s

 prior and continuous sustaining of damages as described by Florida Statute§ 559.77.


        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Citibank for s tatutory damages, punitive damages, actual

 damages, costs, interest, attorney fees, enj o inder from further violations of Lhese parts and

 any other such relief the court may deem just and proper.


                                                 Respectfully submitted,




                                                       ~
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